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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      6/16/2021


PABLO STAR, LTD.,

                                            Plaintiff,                 15-CV-01167 (JPO)(SN)

                          -against-                                             ORDER

THE WELSH GOVERNMENT,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        In light of the parties’ continued settlement negotiations, all discovery deadlines are

extended by 30 days.

SO ORDERED.




DATED:           June 16, 2021
                 New York, New York
